                Case 9:16-cv-00104-DWM Document 1 Filed 08/10/16 Page 1 of 8


1
     Dale R. Cockrell
2    MOORE, COCKRELL,
3
     GOICOECHEA & JOHNSON, P.C.
     145 Commons Loop, Suite 200
4    P.O. Box 7370
5    Kalispell, MT 59904-0370
     Telephone: (406) 751-6000
6
     Facsimile: (406) 756-6522
7    Email: dcockrell@mcgalaw.com
8
     Attorneys for Defendant Pan-American Life Insurance Company
9

10                     IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MONTANA
11
                                MISSOULA DIVISION
12

13
     JANET HEINZE,                             Cause No.
14

15                  Plaintiff,
                                               DEFENDANT PAN-AMERICAN
16
     v.                                        LIFE INSURANCE
17                                             COMPANY’S NOTICE OF
18
     PAN-AMERICAN LIFE INSURANCE               REMOVAL
     COMPANY and JOHN DOES 1-4
19

20                  Defendants.
21

22
           Defendant Pan-American Life Insurance Company (“Pan-American”), pursuant
23

24   to 28 U.S.C. §§ 1332, 1441 and 1446(b), et seq., hereby removes this action to this
25
     Court. The grounds for removal are as follows:
26

27         1.       Plaintiff filed a Complaint against Pan-American in the Montana
28
     Eleventh Judicial District Court, Flathead County, Cause No. DV-14-006 (D), on
                Case 9:16-cv-00104-DWM Document 1 Filed 08/10/16 Page 2 of 8


1
     January 3, 2014. Defendant Pan-American was served with the Summons and
2

3
     Complaint in accordance with §§ 33-1-601, 602, and 603, MCA, and the Montana

4    State Auditor’s service of process transmittal was dated July 12, 2016.
5
           2.       A list of and copies of all process, pleadings and orders served or filed
6

7    in this action are attached and filed herewith. See Exhibit A.
8
           3.       Defendant Pan-American is informed, believes and alleges that Janet
9

10   Heinze lives in Flathead County, Montana, and is a citizen of the State of Montana.
11
           4.       Defendant Pan-American is not incorporated in the State of Montana and
12

13
     does not have its principal place of business in Montana. Thus, Defendant Pan-

14   American is not a citizen or resident of Montana under 28 U.S.C. § 1332(e)(1).
15
           5.       Defendant Pan-American is a corporation incorporated in and has its
16

17   principal place of business located in the State of Louisiana. Therefore, pursuant to
18
     28 U.S.C. §§ 1332(c) and 1441, Defendant Pan-American is deemed to be a citizen
19

20   of the State of Louisiana.
21
           6.       Based upon the allegations in Plaintiff’s Complaint, the amount in
22

23
     controversy in this case exceeds $75,000.

24         7.       In the Complaint, Plaintiff seeks a declaratory judgment as well as
25
     alleges that Defendant Pan-American breached its insurance contract; committed
26

27   common law bad faith; violated the Montana Unfair Trade Practices Act (§§ 33-81-
28
     201 and 33-18-242); negligently inflicted emotional distress upon Plaintiff; and that
                Case 9:16-cv-00104-DWM Document 1 Filed 08/10/16 Page 3 of 8


1
     Pan-American is liable for general and compensatory damages, special damages,
2

3
     punitive damages, attorneys’ fees, costs and disbursements.           See Exhibit A,

4    Complaint, ¶¶ 45, 51, and Prayer.
5
           8.       Defendant Pan-American can demonstrate, by a preponderance of the
6

7    evidence, that the amount in controversy for the claims and claimed damages exceeds
8
     the jurisdictional minimum. See, Singer v. State Farm Mutual Automobile Insurance
9

10   Company, 116 F.3d 373 (9th Cir. 1997); Sanchez v. Monumental Life Insurance
11
     Company, 102 F.3rd 398 (9th Cir. 1996); Birkenbuel v. N.C.C. Construction
12

13
     Corporation, 962 F. Supp. 1305 (D. Mont. 1997). Pursuant to established law,

14   Defendant Pan-American need not demonstrate the case value to a certainty. Id.
15
           9.       Damages for alleged unfair claim practices are difficult to quantify and
16

17   are typically left to the jury’s discretion. See, e.g., Cartwright v. Equitable Life
18
     Assurance Society of the U.S., 276 Mont. 1, 914, P.2d 976 (1996); Dees v. Am. Nat’l
19

20   Fire Ins. Co., 260 Mont. 431, 861 p.2d 141 (1993).
21
           10.      Attached as Exhibit B to this Notice of Removal is a compilation of
22

23
     verdicts in Montana bad faith and unfair claims practices actions which indicate that

24   juries can reach verdicts well in excess of the $75,000.00 jurisdictional minimum.
25
     In some of the cited cases, the punitive damage awards were as high as 40 to 144
26

27   times the compensatory awards, when the compensatory awards were less than
28
     $75,000.
             Case 9:16-cv-00104-DWM Document 1 Filed 08/10/16 Page 4 of 8


1
           11.    In a Montana case, Cavin v. Unum Life Ins. Co. of America, CV 01-28-
2

3
     M-DWM (D. Mont.), which involved similar claims for relief, U.S. District Court

4    Judge Donald Molloy denied a motion to remand on the basis that plaintiff’s claim
5
     for punitive damages in an unfair claims practices case satisfies the jurisdictional
6

7    amount. See Exhibit C, March 3, 2001, Cavin Order attached hereto.
8
           12.    Even if Plaintiff’s compensatory damages claim is not more than
9

10   $75,000.00, Pan-American alleges that the compensatory and punitive damages
11
     together “heighten the potential for a judgment in excess of jurisdictional limits.” See
12

13
     Ex. C, Cavin Order, p. 2. On that basis alone, this case satisfies the amount in

14   controversy requirement for diversity jurisdiction.
15
           13.    Moreover, the amount in controversy includes the amount of damages
16

17   in dispute, as well as attorney’s fees, which Plaintiff alleges are authorized by statute
18
     or contract. See Kroske v. U.S. Bank Corp., 432 F.3d 976, 980 (9th Cir. 2005.
19

20   Plaintiff alleges a statutory basis, namely § 27-8-101, MCA, entitles her to recover
21
     attorneys’ fees. See Exhibit A, Complaint, Prayer, ¶ 4. In the case of King v. GEICO
22

23
     Ins. Co., 2014 WL 1789460, by Order dated May 5, 2014, U.S. Magistrate Judge

24   Richard Anderson awarded plaintiff’s counsel $43,727.88 in attorney fees associated
25
     with plaintiff’s prosecution of his declaratory judgment action which sought damages
26

27   similar to those sought in this action. Plaintiff’s claim for attorney fees, based on §
28
             Case 9:16-cv-00104-DWM Document 1 Filed 08/10/16 Page 5 of 8


1
     27-8-101, MCA, further heightens the likelihood that the amount of damages in
2

3
     dispute exceeds jurisdictional limits. Ex. C, p. 2.

4          14.    Plaintiff can avoid removal by utilizing available procedural devices in
5
     stating that all of her claimed damages, including attorneys’ fees, have a value of less
6

7    than and she will not seek more than $75,000 in a Notice or Statement of Damages.
8
     See §§ 25-4-313 and 25-4-314, MCA; Rollwitz v. Burlington Northern R.R., 507
9

10   F.Supp. 582, 588 (D. Mont. 1981) (“. . . if the plaintiff is to reserve the option of
11
     avoiding the federal forum, he must take the initiative and inform the defendant of
12

13
     the amount being sought”).

14         15.     While Plaintiff alleges that John Does 1-4 are individuals or business
15
     entities who may be responsible for the damages alleged in the Complaint (Exhibit
16

17   A, Complaint, ¶¶ 52-54), the citizenship of John Does 1-4 is disregarded for
18
     determining diversity jurisdiction. Accordingly, the consent of John Does 1-4 is not
19

20   required to effectuate removal because the citizenship of defendants sued under
21
     fictitious names shall be disregarded for removal purposes. 28 U.S.C. § 1441(a).
22

23
     Moreover, John Does 1-4 are nominal parties who have not been served. A party not

24   served need not be joined in the removal petition. Salveson v. Western States
25
     Bankcard Association, et al., 731 F.2d 1423, 1429 (1984).
26

27         16.    Removal of this case is permitted under 28 U.S.C. § 1441(a) because for
28
     purposes of removal, the citizenship of defendants sued under fictitious names shall
             Case 9:16-cv-00104-DWM Document 1 Filed 08/10/16 Page 6 of 8


1
     be disregarded, 28 U.S.C. § 1441(b), based upon complete diversity of citizenship
2

3
     (after the disregard of the fictitiously named plaintiffs), and the fact that the amount

4    in controversy could exceed $75,000.00.
5
           17.    Pursuant to 28 U.S.C. § 1441(a), and Rule 1.2(c)(5) of the Rules of
6

7    Procedure of the United States District Court for the District of Montana, the United
8
     States District Court of Montana, Missoula Division, has jurisdiction and venue over
9

10   this action because the Missoula Division of this court embraces Flathead County,
11
     Montana.
12

13
           18.    This action is a civil action which may be removed by Pan-American

14   to the United States District Court for the District of Montana, pursuant to 28
15
     U.S.C. §§ 1332 and 1441. The United States District Court has original
16

17   jurisdiction over this cause.
18
           19.    Pursuant to 28 U.S.C. § 1446(b), this Notice of Removal is timely
19

20   because it is filed with the Court within thirty (30) days of the date of the Montana
21
     State Auditor’s letter dated July 12, 2016.
22

23
           20.    Defendant Pan-American consents to this removal.

24         21.    Notice of filing of this Notice of Removal has been given to Plaintiff by
25
     service of a copy of this Notice of Removal upon Plaintiff’s attorney as required by
26

27   28 U.S.C. § 1446(d).
28
             Case 9:16-cv-00104-DWM Document 1 Filed 08/10/16 Page 7 of 8


1
           22.    Within seven (7) days of the filing of this Notice, Pan-American will
2

3
     provide a copy of the Notice to the Clerk of District Court of the Montana Eleventh

4    Judicial District Court, as required by Local Rule 3.3(a) of the Rules of Procedure of
5
     the United States District Court for the District of Montana.
6

7          23.    Under the provisions of 28 U.S.C. §§ 1332, 1441, 1446, and other
8
     applicable statutes, all of which Pan-American has complied with, this cause is
9

10   removable to the United States District Court, for the District of Montana, Missoula
11
     Division.
12

13
           WHEREFORE, Defendant Pan-American gives notice that Cause No. DV-14-

14   006 (D), formerly pending in the Montana Eleventh Judicial District Court, has been
15
     removed to the United States District Court for Montana.
16

17         Dated this 10th day of August, 2016.
18
                                            MOORE, COCKRELL,
19                                          GOICOECHEA & JOHNSON, P.C.
20
                                            /s/ Dale R. Cockrell
21
                                            Dale R. Cockrell
22                                          145 Commons Loop, Suite 200
23
                                            P.O. Box 7370
                                            Kalispell, Montana 59904-0370
24                                          Email: dcockrell@mcgalaw.com
25
                                            Attorneys for Defendant Pan-American
26
                                            Life Insurance Company
27

28
             Case 9:16-cv-00104-DWM Document 1 Filed 08/10/16 Page 8 of 8


1
                             CERTIFICATE OF SERVICE
2

3
           The undersigned does hereby certify that a true copy of the foregoing document

4    was served upon the following individuals by the means designated below:
5
     [ X] U.S. Mail           Alex K. Evans
6
     [ ] CM/ECF               Michael A. Bliven
7    [ ] Federal Express      BLIVEN & EVANS TRIAL LAWYERS, P.C.
8
     [ ] Hand-Delivery        278 Fourth Avenue E.N.
     [ ] Facsimile            Kalispell, MT 59901
9    [ ] E-Mail
10                            Attorneys for Plaintiff Janet Heinze
11

12

13
           Dated this 10th day of August, 2016.

14

15                                   /s/Dale R. Cockrell
                                     Dale R. Cockrell
16
                                     Email: dcockrell@mcgalaw.com
17

18

19

20

21

22

23

24

25

26

27

28
